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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA,                  )
                                               )
Plaintiff,                                     )
                                               )
vs.                                            )
                                               )   Docket No.: 0090 1:21CR00282-002
ELLIOT BISHAI                                  )
                                               )
Defendant.                                     )

                      DEFENDANT’S SENTENCING MEMORANDUM

                                        INTRODUCTION

        The Defendant does not disagree with the basic recitation of most of the facts as set forth

by the United States Attorney in the government's sentencing memorandum. Thus, while we will

respectfully take issue with some of the arguments and analogies within the government’s

memorandum, we will not provide any significant additional facts herein, except for those facts

that may be helpful to the Court's consideration in mitigation, or in a couple of matters that

appear to be materially inaccurate.

        Although Elliot Bishai did not, on January 6th, nor has he ever engaged in any type of

violence against a person or property in connection with his actions, nor did he come to

Washington that day to participate in an attack on the Capitol, he has nonetheless pled guilty to

one count of misdemeanor Entering and Remaining in a Restricted Building 18 USC §

1752(a)(1).

        For his actions, Mr. Bishai would begin by offering his apologies to the Court, the United

States Attorney's Office, and the United States for his actions, as his actions have taken up the

time of the Court and the United States Attorneys, the Federal Probation Officer, and others
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involved in the process. But even above and beyond the single Federal Misdemeanor count for

which he has pled guilty, Mr. Bishai would also offer his apologies for some of the words that he

used outside the United States Capitol, and in particular, the phrases “Let’s Go” and “Civil War

II.”

       The truth is that Mr. Bishai, months after the fact, did not even remember uttering those

words outside the Capitol until the United States Attorney provided audio and video coverage of

events outside the Capitol, through the discovery process, and he then recognized his image and

heard his voice. The words are embarrassing because Mr. Bishai became caught up in the

moment outside the Capitol, as others were yelling, and he briefly joined in the yelling fray, for a

few moments, unfortunately.

       By contrast, Mr. Bishai’s actions inside the Capitol were respectful toward Capitol Hill

Police Officers. He even engaged in friendly “fistbumps” with several of them and caused no

harm to persons or property. Inside the Capitol, he did not raise his voice as he had outside the

Capitol, and left peacefully after a relatively short period, showing that he was not in any way,

shape, or form interested in any sort of “Civil War II.”

       Nonetheless, he remains embarrassed by his words and apologizes to the Court for this

extremely poor choice of words spoken outside the Capitol.

       Finally, as part of our introduction, Mr. Bishai would like to thank the Court and the

United States Attorney's Office for treating him fairly in the pretrial process.

       As the Court may recall, Mr. Bishai is a firefighter who travels around the country to

combat forest fires in his current job, as his employer works hand-in-hand with the National

Forest Service to combat wildfire spread. In support of this mission, the Court has kindly

allowed Mr. Bishai to enter remote appearances via Webex twice from the fireline, and even




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allowed him to plead guilty via Webex from a fireline location in Western Virginia. For that, Mr.

Bishai is grateful.



                               Mr. Bishai’s Actions Post-January 6, 2021

        As the actions of January 6, 2021, have been spelled out in great detail, for purposes of

mitigation, we will begin by sharing with the Court some of the background events that occurred,

soon after the time of Mr. Bishai’s arrest.

        Soon after his arrest in his Fort Mill, South Carolina home on March 16, 2021, and after

the case was transferred from the United States Attorney's Office for the District of South

Carolina to the District of Columbia, and, within days of the transfer, Mr. Bishai instructed his

attorney to reach out to the United States Attorney's Office for the District of Columbia the begin

inquiring about plea offers.

        As has been pointed out elsewhere, and as the Court may recall from a number of

pre-trial appearances, Mr. Bishai was arrested along with two initial co-defendants, Elias Irizarry

and Grayson Sherrill, who traveled together from South Carolina to Washington, D.C., where all

three entered the Capitol on January 6, 2021.

        And although neither Mr. Irizarry nor Mr. Sherrill have acknowledged responsibility or

pled guilty to the events for which they are charged, which is within their constitutional rights,

by contrast, Mr. Bishai sought to plead guilty almost immediately after his arrest. In fact, within

two days of the case being transferred to the District of Columbia, Mr. Bishai instructed his

counsel to contact the United States Attorney about accepting responsibility and pleading guilty.




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       Despite Bishai’s desire to plead guilty early on, the undersigned was informed, during the

week following March 16, 2021, that the United States Attorney, because of the sheer volume of

cases involved, would not be in a position to consider any plea deals for many months.

       It was our understanding that other “more serious” cases involving those who have been

incarcerated and/or who had been charged with felonies, were understandably jumping ahead of

the misdemeanor cases on the priority chain. Additionally, Mr. Bishai was told that the

government was not yet ready to consider a plea offer because of an absolute flood of discovery

evidence that had to be sorted out, from many cameras within the Capitol itself, and from

obtaining and analyzing cell phone records and photographs from numerous defendants.

       While all these are certainly valid reasons for the delay, we nonetheless would like the

Court to know that in the case of Mr. Bishai, he has never for one second hesitated about

accepting responsibility for his actions, and would have pled guilty months ago, had

circumstances allowed it.

        Additionally, even before he was offered a plea deal, Mr. Bishai took the step forward

and offered to be of help to the U.S. Attorney, in the prosecution of other cases. As the

government's pre-sentencing report indicates, Mr. Bishai voluntarily agreed to an interview by

the Federal Bureau of Investigation on February 14, 2022, as reflected on page 16 of the United

States Attorney's sentencing report.

       At this point, we need to correct an error in the United States Attorney’s Report.

        On page 16, as the report shares about Bishai voluntarily coming forth to cooperate with

the government by talking to the FBI, the following information is relayed, part of it materially

incorrect:




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               In total, Bishai spent 27 minutes inside of the Capitol. In addition to the signs of

       violence Bishai saw outside the Capitol, he also saw blood on the ground inside the

       Capitol, which he recorded on a video located on his phone. See Exhibit 10. On the ride

       home, Sherrill admitted to Bishai and Irizarry that he had hit a police officer in the head

       with a pole. Sherrill’s assault is documented on video from an open-source. Despite

       Sherrill telling Bishai about the assault, Bishai did nothing with this information until his

       interview with the FBI on February 14, 2022.

       The inaccurate material here concerns the government's representation that, “Despite

Sherrill telling Bishai about the assault, Bishai did nothing with this information until his

interview with the FBI on February 14, 2022.” (Emphasis added).

       That representation is inaccurate.

       The truth is that Mr. Bishai had offered to share this information with the government in

the weeks before February 14, 2022. In fact, his Counsel, the undersigned, first called and talked

to the U.S attorney about making the proffer, and then, even submitted an email to the U.S.

Attorney, on January 31, 2022, at 1:42 PM, EST, (two weeks before February 14) attached hereto

as EXHIBIT A and embedded below:




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       It is unclear as to why the United States Attorney would make an inaccurate

representation on this crucial point, that “Bishai did nothing with this information until his

interview with the FBI on February 14, 2022,” when the email records clearly, and indisputably

show that Bishai, through counsel, reached out to the prosecution team at least two weeks earlier,

offering not only specific information about Sherrell, but also including an offer to submit to the

interview by the FBI, which occurred two weeks later. Also, the email of January 31, 2022

indicates that the defense counsel and U.S. Attorney had been discussing the issue of Sherrell

striking the officer even before January 31, 2022.

       In this case, of course, we are willing to give the United States Attorney the benefit of the

doubt and assume that perhaps they forgot about Mr. Bishai’s multiple clear attempts to reach out

and offer help when they attempted to characterize him as not coming forward about Mr. Sherrell

before the FBI interview. But the facts are the facts. We ask the Court to consider that Mr. Bishai




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wanted to do his part in helping the prosecution, as he considers the act of striking a police

officer, as Sherrell admitted to, to be a reprehensible act.

        Keep in mind that no plea offer had even been struck when Mr. Bishai initially came

forward, voluntarily, with the email of January 31, 2022, and even before that, with information

concerning Mr. Sherrell having admitted to striking the police officer.

        In fact, on or about February 4, 2022, the defense counsel had a conference with the

United States attorneys working on the case concerning the matter. A copy of Defense Counsel’s

attorney notes is pasted below and attached hereto as EXHIBIT B.




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       As can be seen, the United States Attorney indicated that there would have to be a debrief

for a plea officer. No plea offer had taken place by February 4, 2022, and certainly not by

January 31, 2022.

       On the very same day, February 4, 2022, the Assistant United States Attorney overseeing

the prosecution of this case sent an email to Defense Counsel along with a debriefing letter. A

copy of the email is pasted below. The debriefing is attached hereto as EXHIBIT C.




       A debriefing letter from the U.S. Attorney accompanied that email, and we note

specifically that no plea agreement had been entered into as of the date of that letter, which was

February 4, 2022.




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       Again, it is unclear why the U.S. Attorney would try to say or insinuate that Mr. Bishai

did not come forward with any information about Sherrell until the actual debriefing with the

FBI, on February 14, 2022. But the fact of the matter is that Mr. Bishai did come forward, earlier,

several times, even without the protection of any plea agreement, and the Court, respectfully,

should take that into consideration as a mitigating factor in his favor.



        Moreover, there is also, an apparently regrettable attempt to besmirch Mr. Bishai based

upon, less-than-tasteful uploads found on his cellphone, which have no relevance to the charges

for which he has pled guilty, and should not be considered in aggravation.

       We refer to language on page 16 of the pre-sentencing report as follows:




       As detestable as the notions of Nazism and white supremacy may be, and they should be

detestable to all freedom-loving Americans, and whatever these “GypsyCrusader” videos are, all

of which Mr. Bishai described as “humorous” and did not disseminate any of the content, these

detestable notions have nothing to do with the charges that have been brought in this case nor do

they have anything to do with the charges for which Mr. Bishai has pled guilty. Unfortunately,

this appears to be an attempt to urge punishment because of someone's private thought processes,




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having nothing to do with the offense, even if the Defendant only finds private humor in the

images.

       Moreover, there is no evidence whatsoever that Mr. Bishai participated in any of the

conversations found on his phone. He may or may not have read some of the materials, but

again, there is no evidence that he was a participant, and should not be judged as such. It’s not

like he’s some sort of chat-room leader of some sort of nazi group on the internet. He apparently

doesn’t even post in any of these rooms or participate in any way. Reading something, if Mr.

Bishai read anything on his phone, doesn’t mean you are a part of something or agree with

something. The implication here, made by the United States attorney, is again, an illogical stretch

and not relevant to the charges involved, or the events of January 6.

          Ironically, Mr. Bishai is not even a white person, as is pointed out in a letter by his father,

Hani Bishai, who is of Egyptian and Sudanese descent, a copy of which is attached hereto as

EXHIBIT D.

       As Hani Bishai’s letter points out, Elliot, who is half-Egyptian/Sudanese by descent,

spent part of his time growing up in Kuwait, at least for a year and has never been involved in

any type of white supremacist group, or some neo nazi group. Despite the images found on his

phone, whether they were uploaded or not, and despite his reasons for possibly finding humor

with some of the photographs apparently that had been found, there is an absolute disconnect

between all that and the crime for which he has accepted responsibility.

          By contrast, and as we see in Hani Bishai’s letter, and in other places, the organizations

that Elliot has been involved with, which speak to his true record, and to who he truly is, include

the Junior ROTC program at school, the Civil Air Patrol, placing his life on the line working day

in and day out as a firefighter, volunteering for the “Team Rubicon” disaster response unit, and




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having volunteered to serve his country in the United States Army. Those are the organizations

for which the Defendant has been associated, or which he is best known, and we ask the Court

to consider in determining an appropriate sentence.



  The Comparison of Room S145 to the Speaker’s Officers, to a U.S. Senator’s Offices, and to

                    Private, Highly Sensitive Areas in the United States Capitol



       Mr. Bishai, alongside another Defendant, Mr. Elias Irizarry, unlawfully entered into a

restricted space in the Capitol, a relatively unknown “Room S145,” where he and Elias Irizarry

lingered a few moments, took pictures, then quickly left the space. Mr. Bishai did not post

pictures of the space, Room S145.

       Again, Mr. Bishai accepts criminal responsibility for entering and remaining in a

restricted space.

       However, the United States, in its pre-sentencing brief, attempts to compare entering a

relatively unknown space, Room S145, to other defendants who entered the high-profile, high

security-sensitive spaces of the Speaker of the House of Representatives, and the office of United

States Senator Jeff Merkley (D Oregon).

       The United States Attorneys' attempt to compare Room S145 to two other private, highly

sensitive areas in the United States Capitol, is not credible.

       We believe that it is a stretch to attempt to compare Room S145, in any way, shape, or

form, to Speaker Pelosi's office as the government has attempted to do, on page 27 of the

SENTENCING MEMORANDUM [83]. On page 28, the government goes on to say that “while




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room S145 that Bishai entered was not a private office, it’s clearly recognizable as a more private

space than, for instance, the Rotunda, and thus implicates similar concerns.”

         Again, with respect to this argument, it's an illogical stretch.

         First off, the government concedes that Room S145 is not a private office, which makes it

very different from the Speaker’s Office (one of the most public offices in the world). The

government then goes on to argue that “it’s clearly recognizable as a more private space than for

instance the Rotunda, and thus implicates similar concerns.”

         As a “more private space than the Rotunda?”

         The government's argument here is unclear and unsound. It concedes that the space is not

a private office but then makes a comparison to the Rotunda and suggests it should be more

recognizable as a “more private space” than the Rotunda. That’s a bit of a circular argument.

         With respect to using the Rotunda as a measuring stick for determining the relative

privacy of spaces, as the government has chosen to do, then every space in the United States

Capitol would seem to be “a more private space than the Rotunda.” The Rotunda is, and always

has been, the most recognizable part of the interior of the United States Capitol to all the free

world.

         To compare Bishai’s entry into that relatively- unknown space, to the actions of Mr. .

Maccozzo (Defendant who perpetrated the Office of the Speaker of the House of

Representatives), doesn’t hold water, comparatively speaking. Bishai did not enter the Speaker’s

office, did not enter the office of a U.S. Senator, or any other high-profile area of the Capitol.

         Likewise, the government memorandum continues to make a similar stretch in logic by

noting that on page 28 of its SENTENCING MEMORANDUM [83], another defendant, Mr.

Lucard, entered the private offices of United States Senator Jeff Merkley. Again, while




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acknowledging criminal responsibilities for his actions, Room S145 is not a private office and is

certainly not the office of a United States Senator.

       At pages 27-30 of its pre-sentencing brief, the government goes on about other

defendants who entered the Speaker spaces and two other defendants who entered Senator

Merkley's office. With respect, it really is not credible to try and compare the office of the

Speaker of the House, and the office of the United States Senator, in a relatively unknown and

unheard of public space, Room S145, which is not anybody’s personal office..

       Then the government, on page 30, switches gears and attempts to compare Mr. Bishai to a

one Joshua Wagner, who got 30 days confinement after deliberately defying orders from the

United States Capitol Police and from chanting things to the police.

       Again, with respect, attacking, using disrespectful language, and resisting police officers

were among the most egregious actions taken by certain defendants during the entire January 6,

2021 episode. Mr. Bishai did not do any of this at all, and if anything, the fact that Mr. Wagner

was given 30 days of confinement suggests that Mr. Bishai’s conduct is far less deserving of any

confinement at all. Unlike Mr. Wagner, Mr. Bishai has been nothing but respectful to police

officers all his life and unlike others, was respectful to police officers on the day in question,

January 6, 2021.

       The facts are the facts and all the “comparative sentencing” examples used by the

government in their Sentencing Memorandum, including defendants entering the Speaker's

Offices, entering a U.S. Senator’s offices, and disobeying police officers, were engaged in

conduct more egregious than that of the Defendant, and sentencing should be considered with

that in mind.

                WHAT IS THE APPROPRIATE SENTENCE IN THIS CASE?




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          This brings us to the question “what is the appropriate sentence in this case?”

          We begin this analysis by citing two observations, one from the United States Attorney’s

Sentencing Memorandum, and the second from the United States Probation Officer’s sentencing

recommendation.

          On page 26 of the U.S. Attorney’s SENTENCING MEMORANDUM [83], the United

States correctly observed, in our opinion, “Those who trespassed, but engaged in less serious

aggravating factors, deserve a sentence more in line with minor incarceration or home

detention.”

          As we have seen, we believe the evidence shows that Mr. Bishai falls within this

particular category. Yes, he trespassed, but his offense has been less aggravating. There's been no

harm to property, there has been no harm to any person, and Mr. Bishai has sought to take

responsibility early on and even to help the government and its prosecution of other defendants,

particularly one who attacked a police officer.

          We also consider the Probation Officer’s Sentencing recommendation (Document 85)1

          On page 1 of the Probation Officer’s Sentencing Recommendation (Document 85),2 the

Probation Officer, Mr. Brian D. Shaffer, Chief United States Probation Officer, states, “Mr.

Bishai’s culpability appears to be minimal in contrast with individuals who destroyed or stole

government property and assaulted or threatened the law enforcement officers on that date. It

should be noted that the co-defendants have a trial date set for January 3, 2023.”

          While we note that the United States Attorney is requesting a sentence of 30 days of

active confinement, which we understand the Court may accept or reject, we believe that a more




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    https://brownattorneys.mycase.com/documents/172040663/view
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    https://brownattorneys.mycase.com/documents/172040663/view


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appropriate sentence in line with the Probation Officer’s recommendations, set forth in

Document 85, and shown below:




       In this case, we do not believe that any type of active incarceration would serve the

interests of the United States at all, nor would such a sentence serve the public, or the Defendant.

In fact, we would point out that, as reflected in the attached letter of the Defendant's father Hani

Bishai, Defendant has already lost an opportunity to serve the United States Army as a pilot in

the Army Warrant Officer Flight Program. That has been Elliot’s lifelong dream and his actions

have already cost him dearly. Additionally, Elliot has also had his student pilot's license revoked

by the Federal Aviation Administration, in conjunction with the Transportation Safety




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Administration. Mr. Bishai has lost his student pilot's license and his opportunity to serve as an

Army Warrant officer for having been in the Capitol for 27 minutes.

        Mr. Bishai has already paid dearly for his actions, and having him serve any sort of

active incarceration would not serve the best interest of either the United States or the Defendant.

        We ask the Court also to consider EXHIBIT E containing materials attached in

mitigation, including various recommendation letters and other matters which will give the Court

a better picture of Elliot Bishai.

        We concur with the Probation Officer that there should be no incarceration imposed, and

no supervised release. We also believe that given the individual circumstances of this case, with

no damage to persons or property, that restitution of $500 would be appropriate along with a $25

Special Assessment. We agree with the Probation Officer in requesting that no fine be assessed.

Because of Mr. Bishai’s job as a front-line responder, as a firefighter, we believe the public’s best

interest would be best served by a shorter period of probation than suggested by the Probation

Officer, namely approximately one year.

        As the Court is aware, the Defendant is currently serving as a firefighter, on the front

lines of forest fires around the country. Should the Court elect not to impose an active sentence at

the conclusion of this case, the Defendant will head immediately to Oregon, to battle brush fires,

until that situation is under control and until he is given another assignment on the fire line.



        We believe it will be in the best interests of the United States, and of the American

people, and of the Defendant, to keep the Defendant in this case on the frontlines, fighting fires

to help save property and help save lives. Incarceration, for however long, would only take him




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off the front lines, and the public is better served, in this case, by having him do exactly what he

does.

        At either rate, we are grateful for the Court's consideration of this matter and trust that the

Court will do what is right and equitable in the disposition of this case.


Respectfully submitted,


Dated: July 22, 2022.

/s/ Donald M. Brown, Jr.
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                                 CERTIFICATE OF SERVICE

I hereby certify that the foregoing has been served upon counsel of record using the Court’s ECF
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Dated: July 22, 2022.

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